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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                         X
MONIQUE KATZ and YEKATERINA
SKIDANENKO, individually and on behalf
all others similarly situated,

                           Plaintiff,        Civ. No.: 20-cv-9856
                                             (VEC)(RWL)
               -against-

EQUINOX HOLDINGS, INC.

                           Defendant.

                                         X




      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT EQUINOX
    HOLDINGS, INC.’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
                             COMPLAINT
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                                      PRELIMINARY STATEMENT

         Defendant Equinox Holdings, Inc. (“Equinox”) moves to dismiss Plaintiffs Monique

Katz’s (“Katz”) and Yekaterina Skidanenko’s (“Skidanenko”, together with Katz the “Plaintiffs”)

Complaint because Plaintiffs still fail to state a claim under federal law, either under the Fair Labor

Standards Act (“FLSA”) or the Family and Medical Leave Act (“FMLA”), the federal statutes at

issue in their Complaint. Plaintiffs’ refusal to describe their alleged overtime work during a

particular workweek (the unit of analysis under the FLSA) fails to comply with the requirements

to articulate a claim under that law, and Plaintiff Katz’s additional allegations do not save her claim

under the FMLA for interference or retaliation.

         Plaintiff Skidanenko’s factual example describing overtime work fails to allege that such

general “estimate” actually occurred in one or more workweeks on the general schedule described.

Plaintiff Katz declines to plead even that much, continuing to base her allegations on an estimate

of the duration of a task (personal training sessions) and volume of such sessions, without any

description of how that estimate, in practice, resulted in weekly hours above forty.1 As concerns

Katz’s FMLA claims, her revised allegations (including those asserted curiously for the first time

on amendment) do not support an FMLA retaliation claim, nor do they state a claim for

interference.

         In the absence of federal question jurisdiction, the Court should abstain from exercising

pendent jurisdiction over Plaintiffs’ New York Labor Law (“NYLL”) and New York City Human




1
  This is not an abstract exercise. Plaintiff Katz’s characterization of her training session-related activities is at
loggerheads with Defendant’s policies and practices, including Plaintiff’s own employment documentation.
Defendant is entitled under prevailing law to an exemplary description of the alleged “overtime workweek” schedule
Plaintiff Katz asserts she engaged in.



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Rights Law (“NYCHRL”) claims and dismiss this action.2 Even if the Court were to retain

Plaintiffs’ federal claims, it should decline supplemental jurisdiction over unrelated or novel

claims of state law, most notably Plaintiffs’ misplaced pay frequency claim under NYLL § 191.

                           FACTUAL AND PROCEDURAL BACKGROUND

           A.       Summary of Plaintiffs’ Wage-and-Hour Allegations

           Equinox is a fitness company with luxury fitness centers located across New York and the

United States. Ex. A ¶ 2.3 In August 2015, Equinox hired Katz as a Tier 1 personal trainer at

Equinox’s Brookfield Place, Manhattan location. Id. ¶ 173. In or around January 2016, Katz was

promoted to a Tier 2 trainer. Id. ¶ 175. Katz was again promoted in or around August 2016, to a

Tier 3 trainer. Id. ¶ 177. Weekly schedules for Tier 3, Tier 3+, and Tier X Trainers (“High-Tier

Trainers”) depended on the number of personal training sessions they were required to conduct.

Id. ¶ 178.

           In July 2019, Equinox hired Skidanenko as a Tier 1 personal trainer at Equinox’s Brooklyn

Heights location. Id. ¶¶ 226-227. Months later, in October 2019, Skidanenko stopped working for

Equinox due to an injury. Id. ¶¶ 228-229. Personal Training Managers scheduled floor shifts,

“EFTI” meetings, and other trainings for Tier 1 and Tier 2 Trainers (“Low-Tier Trainers”) which,

Skidanenko alleges, forced trainers to remain on Equinox’s premises during their “down time” and

perform uncompensated floor shifts to recruit new clients. Id. ¶¶ 62, 160 258, 263.

           In sum, Plaintiffs assert claims of unpaid minimum wages, spread of hours, and unpaid

overtime compensation under the FLSA, NYLL and NYCRR. Plaintiffs allege Equinox did not

properly compensate trainers for all hours spent performing certain types of activities: “Equifit”

2
 The current Complaint in this action is Exhibit A to the Declaration of Noel P. Tripp (“Tripp Decl.”) submitted
contemporaneously herewith in support of this motion, and cited as “Ex. A.”

3
    Except where otherwise noted, these factual allegations are taken from Plaintiffs’ First Amended Complaint.



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sessions or guided sessions, time spent preparing for personal training sessions, post-session

activities and make-up personal training sessions, time spent at weekly meetings, time spent

commuting to and from “EFTI” meetings, or time spent completing EFTI homework. Id. ¶¶ 74,

94, 96, 104, 116, 119, 126-127, 130, 133, 134, 154, 248-249. However, the only paragraphs in the

First Amended Complaint wherein Plaintiffs allege any specifics with regard to hours worked are

paragraphs 184, 188-89, 235-36, 238. Even there, Plaintiffs fail to allege total hours worked in

any workweek and only give a general approximation of hours. Id. ¶¶ 184, 188-89 (Katz) and

235-36, 238 (Skidanenko). On the basis of this allegation, Plaintiffs seek to proceed as a collective

action under the FLSA; Katz for herself, and on behalf of “Tier 3, Tier 3+, and Tier X Trainers

employed by Defendant within the State of New York”, and Skidanenko for herself, and on behalf

of “Tier 1 and Tier 2 Trainers employed by Defendant within the State of New York.” Id. ¶¶ 285,

296. Plaintiffs also seek to maintain a class action under FRCP 23, based on Defendant’s alleged

violations of the NYLL and NYCRR, on behalf of themselves and “Tier 1 and Tier 2 Trainers

employed by Defendant within the State of New York”. Id. ¶¶ 320-321. Likewise, Katz also seeks

to proceed as a class for herself and on behalf of “Tier 3, Tier 3+, and Tier X Trainers employed

by Defendant within the State of New York.” Id. ¶ 307.

       B.      Plaintiff Katz’s Individual Claims

       In support of her FMLA claims, Katz alleges she requested leave beginning in December

2019, which was denied under the FMLA, but approved under the New York State Paid Family

Leave Act. Id. ¶¶ 202, 205. She alleges that upon her return from leave, on or around January 8,

2020, she submitted leave-related paperwork. Id. ¶ 203. On January 15, 2020, she alleges she was

issued a final written warning for taking unapproved leave. Id. ¶ 204. On or about January 27,

2020, Katz requested another leave from February 26, 2020 through March 5, 2020. Id. ¶ 208.

Personal Training Manager Christopher Szefler allegedly told Katz that she “already took time


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     off” but approved the leave and thereafter approved her request to begin the leave a day earlier

     than originally requested. Id. ¶¶ 209-211. Plaintiff alleges Defendant denied her second leave as

     FMLA leave. Id. ¶ 214.

             On March 4, 2020 General Manager Darnell Serrette allegedly told Katz that her leave was

     unapproved and that such unapproved leave related to her termination from employment. Id. ¶¶

     212-213. She claims Defendant interfered with her right to take FMLA leave by refusing to

     concurrently authorize her leaves as FMLA and that her termination was related to alleged FMLA

     leave interference and/or retaliation for her request for FMLA leave. Id. ¶¶ 214-216.

                                                      ARGUMENT

I.           LEGAL STANDARD

             A.       Failure to State a Claim

             In reviewing a motion to dismiss an FLSA claim under Federal Rule of Civil Procedure

     12(b)(6), the Court assesses whether a plaintiff has pled “factual content that allows the court to

     draw the reasonable inference that the defendant is liable for the misconduct alleged.” Farmer v.

     Patino, 2019 U.S. Dist. LEXIS 1824, at *4, 9 (E.D.N.Y. Jan. 4, 2019) (dismissing the plaintiff’s

     claims where plaintiff failed to specify how many hours in excess of 40 that he worked per week)

     (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). The Second Circuit reiterated how it applies

     this pleading standard in the FLSA context most recently in Bonn-Wittingham v. Project OHR,

     Inc., 792 F. App’x 71 (2d Cir. 2019), affirming dismissal of an FLSA complaint and instructing

     that “the district court was under no obligation to accept as true [plaintiffs’] statement, amounting

     to a bare legal conclusion, that they worked in excess of forty hours.” Id. at 75;4 Marciano v. SJN


     4
       Bonn-Wittingham compiles and reiterates the Second Circuit’s directives regarding FLSA pleading, issued in a series
     of 2013 decisions, namely that an FLSA Plaintiff must “provide sufficient detail about the length and frequency of
     their unpaid work to support a reasonable inference that they worked more than forty hours in a given week.” Id. at
     75 (quoting Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 201 (2d Cir. 2013). Also citing
     Lundy v. Catholic Health Sys. of Long Island, Inc., 711 F.3d 106, 115 (2d Cir. 2013) (“Allegations that an employee


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Adjustment Grp., 2019 U.S. Dist. LEXIS 172799, at *6 (E.D.N.Y. Sept. 30, 2019) (plaintiff’s

failure to specifically allege how many overtime hours he or she worked each week would require

the court to “engage in the impermissible speculation precluded by the Second Circuit in Lundy”).

        To state a claim for FMLA interference, a Plaintiff must plead denial of a benefit under the

FMLA. Fernandez v. Windmill Distrib. Co., 159 F. Supp. 3d 351, 363 (S.D.N.Y. 2016). Under

the statute’s retaliation provision, Plaintiff must plead that 1) “[s]he exercised rights protected

under the FMLA; 2) [s]he was qualified for [the] position; 3) [s]he suffered an adverse employment

action; and 4) the adverse employment action occurred under circumstances giving rise to an

inference of retaliatory intent.” Donahue v. Asia TV USA Ltd., 208 F. Supp. 3d 505, 513 (S.D.N.Y.

2016) (dismissing FMLA retaliation claim for failure to plead facts supporting inference of

retaliatory animus).

 II.    THE COMPLAINT FAILS TO STATE A CLAIM UNDER THE FLSA

        A.       Plaintiffs’ FLSA Overtime Claims Fail Because Both Fail to Identify Overtime
                 Hours Worked for Which They Were Not Compensated in Any Week

        A properly pled FLSA overtime claim must be based on “sufficient factual allegations . . .

rather than a general and conclusory allegation as to the number of hours ‘routinely’ worked -

whereby the Court can reasonably infer that there was indeed one or more particular workweek(s)

in which the plaintiff suffered an overtime violation.” Bustillos v. Acad. Bus, LLC, 2014 U.S. Dist.

LEXIS 3980, at *11-14 (S.D.N.Y. 2014) (citing Lundy, DeJesus and Nakahata). Courts routinely

reject FLSA pleadings which fail to meet this requirement. See Knight v. MTA-New York City

Transit Auth., 2021 U.S. Dist. LEXIS 112082 (S.D.N.Y. June 15, 2021); Mokrov v. Aeroflot



‘occasionally’ or ‘typically’ missed breaks provides nothing but low-octane fuel for speculation, not the plausible
claim that is required’”) and DeJesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 89 (2d Cir. 2013) (“allegations that an
employee ‘regularly worked’ more than forty hours per week are merely legal conclusions that constitute ‘little more
than a paraphrase of the statute’” and cannot, standing alone, establish a plausible claim).



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Russian Airlines, 2021 U.S. Dist. LEXIS 112066 (S.D.N.Y. June 15, 2021); Paleja v. KP NY

Operations LLC, 2021 U.S. Dist. LEXIS 8369 (S.D.N.Y. Jan. 15, 2021); Mendoza v. Cornell

Univ., 2021 U.S. Dist. LEXIS 44937 (S.D.N.Y. Mar. 10, 2021); Limauro v. Consol. Edison Co.

of New York, Inc. et al., 2021 U.S. Dist. LEXIS 62519 (S.D.N.Y. March 31, 2021).5 Plaintiffs’

Complaint thus fails because it predominantly contains conclusory allegations about the hours

Low-Tier Trainers and High-Tier Trainers were either scheduled or worked assigned tasks. Ex. A

¶¶ 132, 134, 139-42, 153-56.

         The only paragraphs specific to Katz’s or Skidanenko’s work in any period are paragraphs

183-189 for Katz and 234-238, 243-245 and 281-282 for Skidanenko. Katz first relies on the

Complaint’s allegations that during the bi-weekly pay period of April 29, 2018 to May 12, 2018

she worked approximately 90.5 hours. Id. ¶ 184. She bases this “approximation” on the allegation

that she “performed the equivalent of fifty-four full hour long PT sessions” and spent an additional

“approximately” 36 hours performing personal training session related activity. These are not

allegations of specific work hours on any day (to say nothing of summarizing an overtime week)

– they are a bald estimate which is not sufficient to support a “reasonable inference” that Plaintiff,

in fact, worked more than forty hours in a given week.6 Serrano v. I. Hardware Distribs., Inc.,

2015 U.S. Dist. LEXIS 97876, at *7-8 (S.D.N.Y. July 27, 2015) (allegations that plaintiffs “worked


5
 Indeed, Judge Berman rejected just such an inadequate FLSA allegation from an Equinox trainer. Johnson v. Equinox
Holdings, Inc., 2014 U.S. Dist. LEXIS 91786 (S.D.N.Y. July 2, 2014).

6
  These allegations in Paragraphs 184-186 of specific work activities and specific compensation appear to be
references to a biweekly pay summary, which of course does not necessarily reflect an employee’s hours of
compensable work (the relevant inquiry) or even her actual work activities in either or both of the weeks in question.
In other words, Plaintiff seems to be contending “that because [her] complaint focuses on the rate [she was] paid for
overtime hours, rather than claiming that [she was] not paid at all when [she] worked overtime, [she does] not need to
meet the pleading standard set forth in Lundy and reiterated in DeJesus.” Lusk v. Serve U Brands, Inc., 2018 U.S.
Dist. LEXIS 22693, at *9 (W.D.N.Y. Feb. 12, 2018). Judge Telesca squarely rejected this proposition in Lusk, noting
that “While the primary issue raised by the complaint is indeed how Defendants calculated Named Plaintiffs’ overtime
rate of pay, it is axiomatic that Named Plaintiffs must plausibly allege that they worked compensable overtime before
the issue of their rate of pay becomes relevant.” Id. at *10.



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‘an average’ of 62 and 60 hours per week” and “‘often’ worked over ten hours per day” without

receiving overtime “over a period of years” failed to state an overtime claim because plaintiffs did

“not allege that they worked more than 40 hours in a ‘given’ work week”); Marciano, 2019 U.S.

Dist. LEXIS 172799, at *6 (finding plaintiffs’ claims to be “bare bones allegations” where

plaintiffs alleged they were required to be available to work at least forty hours per week and

commonly worked between fifty and sixty hours per week).

       The remainder of Katz’s allegations and all of Skidanenko’s likewise fail to articulate an

overtime violation with the requisite specificity required to sustain a claim. Katz relies entirely on

self-serving estimations of the amount of time a task took to perform and then applies that

estimated value to a volume of tasks. See id. ¶¶ 188-89. For example, Katz claims that, during

the week of January 7, 2018, she worked “approximately forty-five and a half hours (451/2) . . .

which was comprised of her performing approximately twenty-seven (27) one-hour PT sessions,

PT session activities, Equifit sessions, and meetings.” Id. ¶ 188. She further alleges, “upon

information and belief,” that she performed guided sessions during this workweek.” Id. These are

not allegations of specific work hours on any day or overtime week; they are estimations and best

guesses, which cannot support a “reasonable inference” that Katz actually worked more than 40

hours in any given week. See Serrano 2015 U.S. Dist. LEXIS 97876, at *7-8.

       Yet, Katz’s deficient allegations are still far more detailed than those specific to

Skidanenko. Skidanenko merely recites what she claims were her usual hours of work without

any detail of her tasks in any identified workweek. See Ex. A ¶¶ 235, 238, 278. Indeed,

Skidanenko only refers to two specific workweeks in the Complaint. For these workweeks, she

alleges in conclusory fashion that she “worked at least sixty-five (65) hours during both the

workweeks of September 9, 2019, to September 15, 2019, and September 16, 2019 to September




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22, 2019” but that she did not receive overtime pay. Id. ¶¶ 281-82. These barebones and

conclusory estimates of hours worked—without further detail—do not constitute actionable

allegations of overtime work. See Marciano, 2019 U.S. Dist. LEXIS 172799, at *6.

       Plaintiffs’ allegations, therefore, fail to “provide some factual context that will ‘nudge’

[their] claim from conceivable to plausible.’” DeJesus, 726 F.3d at 90 (quoting Bell Atlantic Corp.

v. Twombly, 550 U.S. 554, 570 (2007)); see also Bustillos, 2014 U.S. Dist. LEXIS 3980, at *3

(dismissing FLSA pleading based on allegation that plaintiff’s schedule “varied” and he “regularly

work[ed] from 60 to 90 hours per week”); Spiteri v. Russo, 2013 U.S. Dist. LEXIS 128379, at

*209-211 (E.D.N.Y. Sept. 7, 2013) (where plaintiff alleged that he “worked approximately fifty

(50) to sixty (60) hours per week” but only alleged “the aggregate number of hours worked on

[projects] without specifying when those hours were worked,” the Court could not “determine

which hours were not paid and whether any unpaid hours qualify for overtime payment”).

       While Plaintiffs will likely point to Judge Kuntz’s denial of Equinox’s motion to dismiss

in Plaintiff Skidanenko’s original filed complaint (Exhibit B) as evidence that Plaintiffs satisfy the

pleading standard here, such an argument is unavailing. First, the Skidanenko decision’s analysis

applies, at most, to facets of that pleading reiterated here, and is not binding on this Court. Second,

Equinox’s motion to dismiss in Skidanenko was fully briefed prior to the issuance of several,

directly relevant decisions from this District (as opposed to the EDNY, where Skidanenko was

pending), which further support the instant motion. See Knight, 2021 U.S. Dist. LEXIS 112082,

at *8-10 (finding allegations lacked sufficient details about the length and frequency of the alleged

unpaid work to state a FLSA overtime claim even though plaintiff alleged specific weeks and time

periods when she worked more than 40 hours); Mokrov, 2021 U.S. Dist. LEXIS 112066, at *8-9

(granting motion to dismiss FLSA overtime claims because “Plaintiffs do not specify, even




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approximately, how many hours in excess of forty that they worked per week or when they were

required to do so” and “allegations that a plaintiff ‘typically,’ ‘occasionally,’ or ‘regularly’ worked

more than forty hours a week, without more, are insufficient to state a claim.”); Mendoza, 2021

U.S. Dist. LEXIS 44937, at *7 (finding plaintiff did not set forth a plausible claim for relief under

the FLSA when plaintiff’s only example of overtime work was inconsistent with other allegations

and lacked detail about when or how plaintiff calculated hours worked); Limauro, 2021 U.S. Dist.

LEXIS 62519, at *4 (granting motion to dismiss NYLL overtime claims because “[t]he

allegations lack specificity as to when Limauro was required to work more than forty hours a

week or the frequency with which he did so.”) (emphasis in original). Judge Kuntz’s Skidanenko

opinion—finding Plaintiff Skidanenko’s recitation of her hours sufficient pleading—neither cites

to nor acknowledges any of these recent SDNY decisions, each of which reinforce the valid

grounds for dismissal of Plaintiffs’ FLSA claims here, despite those decisions being presented to

the Court for consideration. Ex. B at 7.

       B.      For the Same Reasons, Plaintiff Skidanenko’s Minimum Wage Claim Should
               Be Dismissed

       Plaintiff Skidanenko’s conclusory hours allegations, which as discussed above violate this

District’s decisions regarding FLSA pleading, also doom her minimum wage claim, as the

denominator of alleged hours “worked” necessary to allege such a violation is without basis. Only

by accepting Plaintiff Skidanenko’s allegation (without specifics) that she unequivocally worked

“at least sixty-five hours” during two specific weeks in September 2019 (Ex. A ¶ 281), does the

arithmetic relating to her compensation approach $7.25 per hour under the Klinghoffer rule.

Alfonso v. Mougis Logistics Corp., 2021 U.S. Dist. LEXIS 233344 (S.D.N.Y. Dec. 6, 2021)

(collecting authority applying Klinghoffer and rejecting minimum wage claim for failure to

properly plead that effective wage rate fell below federal minimum wage). Judge Kuntz deemed



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this allegation sufficient by accepting the bald allegation that Plaintiff Skidanenko “typically

‘worked sixty to sixty five hours (or more) a week’” (Ex. B at 5) and by declining to engage with

the fact that only by 1) accepting the top of that range of hours for both of the weeks in question;

2) accepting it as sufficiently pled; and 3) assuming that it happened to apply in the two weeks

where Plaintiff identified compensation, could the Court determine that it were even possible that

in that biweekly pay period, Plaintiff Skidanenko’s effective wage rate fell to $7.16/hour, nine

cents below the FLSA minimum wage. This is exactly the type of speculative pleading that SDNY

courts reject. If Plaintiff Skidanenko purports to have worked in excess of sixty hours in a week,

she should describe that week in general terms, and the corresponding compensation.

       C.      Even if Either Plaintiff Has Pled Uncompensated Work (Which They Have
               Not), They Fail to Allege Facts Tending to Show Employer Knowledge of
               Uncompensated Work Time

       Plaintiffs allege that they performed certain personal training session activities that were

not recorded and that resulted in regular work beyond 40 hours in a workweek. See, e.g. Ex. A ¶¶

144-56. Plaintiffs allege that it was “common knowledge” that these activities took “well over

two (2) to three (3) hours . . . per week,” adding that managers were often former trainers. Id. at ¶

92. Plaintiffs also allege that they informed their managers that their personal training session

activities were taking significant time to complete. For example, Katz alleges that she told her

Personal Training Manager, Mr. Szefler, a former trainer, that her personal training session

activities were taking 30 or more minutes to complete per session. Id. at ¶ 144. She also alleges,

“upon information and belief,” that Mr. Szefler knew the amount of time that Katz was spending

on session activities because he reviewed her weekly session schedule and client workout

spreadsheets. Id. ¶¶ 145-48. Similarly, Skidanenko claims that she complained to her managers,

John Jenkins and Emiliano Tramonotozzi, about her “erratic schedule and uncompensated hours”




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and that Mr. Tramonotozzi once told her to spend more time on her session activities. Id. ¶¶ 151-

52.

       Yet, neither Katz nor Skidanenko allege that they specifically informed anyone that their

hours worked exceeded 40 in a workweek. Plaintiffs’ conclusory allegations—based upon

information and belief—that Defendant had actual or constructive knowledge that the time spent

performing certain tasks brought trainers’ weekly hours above 40 in a workweek are not sufficient

to demonstrate employer knowledge of unpaid overtime. At best, Plaintiffs allege that Defendant

was aware trainers performed personal training session activities, but this does not yield the

conclusion that such activities caused trainers to work more than 40 hours per week.

       Lastly, Plaintiffs rely on a New York Times article which provides that an Equinox Vice

President explained Equinox “never requires trainers to put in unpaid overtime: Trainers’ per-

session rates are meant to cover additional time spent preparing for workouts with clients.” Id. at

¶ 3. This does not establish that Equinox was aware that Plaintiffs worked overtime hours during

any specific workweek and were not properly compensated. Again, neither Katz nor Skidanenko

provide any facts tending to show that Defendant or any agent of Defendant was specifically aware

that their time records did not reflect all work activities and that those activities brought their

hours worked to over 40 in any workweek. “To establish liability under the FLSA on a claim for

unpaid overtime, a plaintiff must prove that [she] performed work for which [she] was not properly

compensated, and that the employer had actual or constructive knowledge of that work.” Kuebel

v. Black & Decker Inc., 643 F.3d 352, 361 (2d Cir. 2011) (emphasis added). To proceed to

discovery on such a claim, the plaintiff must plead facts in support of both of these elements. As

with the first element, Plaintiffs’ Complaint does not contain sufficient factual allegations

regarding this second element of the cause of action.




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       Plaintiffs’ allegations that they informed their respective managers that they were not being

compensated for their session activities (but not that they were performing uncompensated

overtime work) are exactly the type of aspirational pleading that fail to meet the Iqbal/Twombly

standard and demand dismissal (particularly given the countless theoretical employees Plaintiffs

seek to represent in their sweeping unsupported putative collective action). That Plaintiffs have

alleged actual and constructive knowledge of Defendant implicitly acknowledges their burden to

establish employer knowledge of uncompensated time worked as a required element of an FLSA

claim, but that bare legal conclusions—which is all Plaintiffs offer on this required legal element—

are insufficient to satisfy the factual pleading requirements. Plaintiffs’ allegations of employer

knowledge is not a factual allegation—it is the cause of action itself. DeSilva v. N. Shore-Long

Island Jewish Health Sys., 770 F. Supp. 2d 497, 505 (E.D.N.Y. 2011) (allegation that conclusorily-

pled overtime work “has been performed in plain sight of defendants’ management and also at

management’s request” insufficiently specific to plead employer knowledge); Xue Lian Lin v.

Comprehensive Health Mgmt., 2009 U.S. Dist. LEXIS 29779, at *6-8 (S.D.N.Y. Apr. 8, 2009)

(legal conclusions could not support claim of individual “employer” liability under FLSA).

       In sum, Plaintiffs’ allegations that they performed uncompensated overtime work because

they were paid a fixed rate for personal training sessions and associated activity took additional

time to perform do not rise to the level of an allegation that (1) they worked uncompensated

overtime or that (2) Defendant was aware that the alleged additional session related activities

resulted in uncompensated overtime hours.

III.   THE COMPLAINT FAILS TO STATE A CLAIM UNDER THE FMLA

       A plaintiff establishes a prima facie case of FMLA interference by showing that (1) she is

an eligible employee under the FMLA; (2) the defendant is an employer under the FMLA; (3) she

was entitled to leave under the FMLA; (4) she gave notice to the defendant of her intention to take


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leave; and (5) the defendant denied her benefits to which she was entitled by the FMLA. Bergman

v. Kids by the Bunch Too, Ltd., 2018 U.S. Dist. LEXIS 27119, at *26 (E.D.N.Y. Feb. 16, 2018)

(internal citations omitted). Here, Plaintiff’s own allegations defeat her claim, and her efforts to

twist ancillary facts in her amended pleading should be viewed by the Court with skepticism under

the plausibility standard. As to the first leave identified in her Complaint (Ex. A ¶ 159), Katz

admits she was granted leave under New York’s Paid Family Leave Law and thus cannot sustain

a claim for FMLA interference.7 Colletta v. Northwell Health, 2019 U.S. Dist. LEXIS 141338

(E.D.N.Y. Aug. 19, 2019) (dismissing FMLA interference claim because Plaintiff had “not

plausibly alleged she was denied benefits under the FMLA”); Mattern v. Panduit Corp., No. 11 C

984, 2011 U.S. Dist. LEXIS 118057, at *20 (N.D. Ill. Oct. 11, 2011) (“Amended Complaint

contains no allegations that she was denied FMLA benefits at any time during her employment.”)

(emphasis in original). Similarly, Plaintiff alleges she was granted a second leave of absence after

submitting a request for same only 19 days after returning from her first leave. Ex. A ¶¶ 203, 208-

09.

           As Plaintiff was granted both leaves she requested, she was not denied any benefits and

thus does not state a claim for FMLA interference. See Alessi v. Monroe Cty., 2010 U.S. Dist.

LEXIS 2746, at *22 (W.D.N.Y. Jan. 13, 2010) (dismissing FMLA claims finding “plaintiff did

not suffer any diminution of income, and . . . incurred no costs as a result of the alleged violation”)

(internal citations omitted). Her new allegation, that a warning for failure to provide appropriate

documentation relating to her leave was not “retracted” (Ex. A ¶ 206) is of no moment in this

context; it is simply an irrelevant insinuation that she was entitled to some further documentary

step (she was not) beyond approval of her leave, which she concedes occurred.


7
    An employer may – but is not required to – run a Paid Family Leave-approved leave concurrently with FMLA leave.



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        Furthermore, Plaintiff’s revised allegations purporting to connect her termination to the

FMLA are telling by what they don’t include: the true reason for her termination or any comments

reflecting hostility towards Plaintiff’s leaves. Indeed, Paragraph 213 now halfheartedly alleges

that a manager cited her 2019 leave (which she acknowledges was granted and from which she

returned) as “further justification” for her termination,8 conceding (correctly) that it was not the

basis for same. For a retaliation claim to survive a motion to dismiss, the plaintiff must still plead

that “there was a causal connection between the protected activity and the action.” Scott-Robinson

v. City of N.Y., 2016 U.S. Dist. LEXIS 177789, at *7 (S.D.N.Y. Dec. 15, 2016). Plaintiff pleads

no facts connecting her leave to her separation from employment (and indeed purposefully declines

to articulate the reasons for her termination to obscure this reality), and her FMLA claims should

be dismissed.

IV.     FOLLOWING DISMISSAL OF PLAINTIFF’S FLSA AND FMLA CLAIMS, THE
        COURT SHOULD DECLINE SUPPLEMENTAL JURISDICTION AND DISMISS
        THIS ACTION

        Given the failure of Plaintiff’s federal claims, the Court should decline to hear her state

law claims. See Mendoza, 2021 U.S. Dist. LEXIS 44937, at *10 (“the district courts may decline

to exercise supplemental jurisdiction over a claim under [28 U.S.C. § 1367] subsection (a) if the

district court has dismissed all claims over which it has original jurisdiction.” (citing 28 U.S.C. §

1367(c) (internal quotation marks omitted))); Alfonso, 2021 U.S. Dist. LEXIS 233344, at *14

(declining to exercise jurisdiction over NYLL claims following dismissal of FLSA minimum age

claim). Absent “‘exceptional circumstances,’ where federal claims can be disposed of pursuant to

Rule 12(b)(6), federal courts should ‘abstain from exercising pendent jurisdiction.’” Birch v.



8
 Plaintiff’s failure in connection with her approved 2019 leave was to timely subject documentation relating to same,
not the taking of the leave.



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Pioneer Credit Recovery, Inc., 2007 U.S. Dist. LEXIS 41834, at *15 (W.D.N.Y. June 8, 2007)

(quoting Walker v. Time Life Films, Inc., 784 F.2d 44, 53 (2d Cir. 1986)). This case meets none

of the relevant factors weighed to assess whether “exceptional circumstances” exist that might

warrant the exercise of such jurisdiction, namely “(1) the length of time the matter has been

pending before the federal court [in this case, less than three months]; (2) the proximity of the trial

date [in this case, a matter of years]; and (3) the predominance of issues of federal, as opposed to

local concern [in this case, no federal issues remain upon the dismissal of Plaintiff’s FLSA and

FMLA claims].” Id. at *16 (citing McLearn v. Cowen & Co., 660 F.2d 845 (2d Cir. 1981)). Even

in FLSA cases proceeding to the summary judgment stage, New York federal courts have declined

to exercise such jurisdiction where summary judgment disposes of federal claims. See, e.g.,

Krumholz v. Vill. of Northport, 873 F. Supp. 2d 481, 492 (E.D.N.Y. 2012) (“[T]he Court declines

to retain jurisdiction over the remaining state law claims given the absence of any federal claim

that survives the summary judgment motion . . . .”).

       Accordingly, upon the Court’s dismissal of Plaintiff’s FLSA and FMLA claims, there

being no further basis for federal jurisdiction, the Court should decline to exercise pendent

jurisdiction over Plaintiff’s NYLL and NYCHRL claims and dismiss this action in its entirety.

 V.    EXERCISE OF SUPPLEMENTAL JURISDICTION OVER PLAINTIFFS’ PAY
       FREQUENCY CLAIM IS INAPPROPRIATE

       Under Section 1367(c)(1), the exercise of supplemental jurisdiction can be an abuse of

discretion if “the resolution of [the] state law claim in [the] case turn[ed] on a question of state law

which not only [was] undecided, but which also require[d] a balancing of numerous important

policies of state government.” Valencia v. Lee, 316 F.3d 299, 306-07 (2d Cir. 2003) (quoting

Seabrook v. Jacobson, 153 F.3d 70, 73 (2d Cir. 1998)). Accord, Section 1367(c)(1). Both the

United States Supreme Court and Second Circuit have specifically instructed district courts to



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avoid exercising jurisdiction over unresolved issues of state law: “[I]t is fundamental that needless

decisions of state law should be avoided both as a matter of comity and to promote justice between

the parties, by procuring for them a surer-footed reading of applicable law. Young v. N.Y.C. Transit

Auth., 903 F.2d 146, 163-64 (2d Cir. 1990) (quoting United Mine Workers v. Gibbs, 383 U.S. 715,

715 (1966)). Therefore, a “district court ought not reach out for . . . issues, thereby depriving state

courts of opportunities to develop and apply state law.” Young, 903 F.2d at 164. “Where a pendent

state claim turns on novel or unresolved questions of state law, . . . principles of federalism and

comity may dictate that these questions be left for decision by the state courts.” Seabrook v.

Jacobson, 153 F.3d 70, 72 (2d Cir. 1998).

           Plaintiffs’ new proposed Tenth Cause of Action, alleging that Defendant violated the

NYLL by paying trainers biweekly, is just such a novel issue of state law, which will turn on – as

a threshold issue – whether systemic payment of wages on a frequency found to be unlawful

violates that statute.9 This is an undecided and developing issue of state law, with contrary

authority in the state courts. Compare Hunter v. Planned Bldg. Servs., Inc., No. 715053/2017,

2018 N.Y. Misc. LEXIS 2896, *4 (Sup. Ct. Queens Cty. June 11, 2018); and Grant v. Global

Dispatch, Queens Cty. Supreme Ct. No. 720074/2019 (Apr. 20, 2021)10 (both finding no private

right of action) with Vega v. CM & Assocs. Constr. Mgmt., LLC, 175 A.D.3d 114, 1146 (1st Dep’t


9
 For avoidance of doubt, Defendant denies Plaintiffs’ allegation (Ex. A ¶¶ 265, 270) that they were “manual workers”
within the meaning of NYLL 191, and the New York State Department of Labor long ago opined that personal health
club trainers do not fall into that category. See Exhibit C. This is because a “manual worker” under NYLL 191 means
“a mechanic, workingman or laborer.” NYLL § 190(4). As the New York Industrial Board of Appeals (“Board”)
explains, “These types of jobs are typically low-skilled, can be easily trained, and the workers can be easily replaced
by other able-bodied workers.” Hudson v. Commissioner of Labor, PR 12-034, at p. 5 (Aug. 7, 2014). The Board has
amplified that employees who serve in healthcare environments, work with people with disabilities, and – most
relevant – provide “highly personal services” to other individuals are not manual workers. See, e.g., Hudson, PR 12-
034, at p. 6 (dental assistants); Creative Transp. v. Commissioner of Labor, PR 49-88 (Aug. 9, 1991) (bus driver for
disabled children); Regis Corp. v. Commissioner of Labor, PR 48-86 (Oct. 27, 1987) (cosmetologists). These Board
decisions are collected as Exhibit D.
10
     These decisions are attached as Exhibit E.



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2019) (holding NYLL 191 provides a private right of action based on use of an improper

frequency). See also Albertin v. Nathan Littauer Hosp. & Nursing Home, 2021 U.S. Dist. LEXIS

84696, at *41 (N.D.N.Y. May 4, 2021) (despite Vega, there remains “an active split within this

Circuit as to whether [Section 191] affords plaintiffs a cause of action”). Proper resolution of this

issue necessarily entails “an expansive review of the legislative history of NYLL §§ 191 and 198

. . . and material purportedly indicating that ‘[t]ime and again, the Department of Labor has opined

that the sanction for a § 191(1)(a) violation is a civil penalty imposed by the Commissioner

under N.Y. Lab. Law § 218’” and not a private right of action. Mabe v. Wal-Mart Assocs., 2021

U.S. Dist. LEXIS 50954, at *18 (N.D.N.Y. Mar. 18, 2021). Further, the factual issues relating to

such a claim – Defendant’s payroll frequency and Plaintiffs’ designation as “clerical or other”

workers – are issues unrelated to Plaintiffs’ FLSA allegations of excess client programming and

client development.11

         Thus, this particular State law claim presents a novel and complex issue unresolved by the

State’s courts. In the interest of comity and deference, this Court should therefore decline to

exercise supplemental jurisdiction over it. See Centeno-Bernuy v. Becker Farms, 564 F. Supp.

2d 166 (W.D.N.Y. 2008) (declining to exercise supplemental jurisdiction over state claim because

the parties did not cite any case directly addressing whether a farm worker who performs both

farm and non-farm work is entitled to overtime under the New York Labor Law, thus presenting

a “novel issue of state law”); Spiegel v. Schulmann, 2006 U.S. Dist. LEXIS 86531 (E.D.N.Y.

Nov. 30, 2006) (declining to exercise supplemental jurisdiction over complex issue of state law

under the New York State Human Rights Law and New York City Human Rights Law, which



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  Though, it should be noted, those allegations reinforce that Plaintiffs performed appropriate trainer duties and were
in no way manual workers.



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were issues of “first impression”); Local 621, S.E.I.U., AFL-CIO v. City of N.Y., 2000 U.S. Dist.

LEXIS 14235 (S.D.N.Y. Sept. 29, 2000) (holding that because state law claims raised novel or

complex issues of state law, they were “more properly addressed in state courts”).

       Salim Shahriar v. Smith & Wollensky Rest. Grp., Inc., 659 F.3d 234 (2d Cir. 2011) is not

to the contrary.   In that case, the Second Circuit confirmed that this Court can exercise

supplemental jurisdiction in appropriate cases and opined that the pendent NYLL claims invoked

there (spread of hours and tip misappropriation wage claims of hospitality workers) formed part

of the same case and controversy as the underlying FLSA claims and did not raise novel or

complex issues of State law. Consistent with Smith & Wollensky, Defendant does not challenge

exercise of supplemental jurisdiction over Plaintiffs’ NYLL claims which are directly tied to

Plaintiffs’ FLSA claims and themselves not novel or complex (such as Plaintiffs’ claim for spread-

of-hours pay under the NYCRR).

                                        CONCLUSION

       For all of the foregoing reasons, Plaintiffs’ Complaint still does not state a valid federal

claim. The Court should decline jurisdiction over Plaintiffs’ remaining non-federal claims,

dismissing them without prejudice and closing this case. Alternatively, the Court should decline

supplemental jurisdiction over Plaintiffs’ pay frequency claim, a distinct and novel issue of state

law.




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Dated: Melville, New York
       January 21, 2022

                                         Respectfully submitted,

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                                   By:     s/ Noel P. Tripp
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                               CERTIFICATE OF SERVICE


               I hereby certify that on January 21, 2022 the MEMORANDUM OF LAW IN
SUPPORT OF DEFENDANT EQUINOX HOLDINGS, INC.’S MOTION TO DISMISS
PLAINTIFFS’ FIRST AMENDED COMPLAINT was electronically filed with the Clerk of the
Court and served in accordance with the Federal Rules of Civil Procedure, the Southern District’s
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